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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
-----------------------------------------------X
UNITED STATES OF AMERICA,

        -against-                                         Case No.: 1:24-cr-00265-TNM

ROBERT BURKE, et. al.
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DEFENDANT ROBERT BURKE'S REPLY MEMORANDUM IN SUPPORT OF
      MOTION TO SUPPRESS SEARCH WARRANT EVIDENCE

Introduction

        Defendant Robert Burke submits this Reply Memorandum to address the

Government's opposition to our Motion to Suppress evidence obtained through search

warrants1 and our request for a Franks hearing. The Government's response inadequately

addresses the severe credibility issues of Person-3, who played a pivotal role in the

issuance of the search warrants. Additionally, the Government neglected its obligation to

disclose information within its constructive possession, which could have been easily

obtained through a simple Google search. This failure undermines the integrity of the

warrant application process and necessitates suppression of the evidence obtained.

        In their Response, the Government essentially admits that it failed to obtain and

disclose to the Court the significant credibility issues with Person-3, but claims that the

investigator had “conducted a standard DCIS background check.” All this proves is that

the “standard DCIS background check” is woefully inadequate and in this case led the



1 As the Government correctly noted, Admiral Burke is only challenging those searches for which he has

standing and an individual 4th Amendment right. While the evidence illegally obtained from the searches
of Co-defendant Kim and Messenger’s property may not be excludable against Burke, he will certainly be
permitted to cross-examine the agents on the fact that they illegally obtained this evidence by failing to
present the full facts to the Court. Moreover, although the illegally obtained evidence may not be excludable
against Burke, that does not mean that it is admissible. Defendant reserves all rights to object to the
admissibility of these materials.
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Government’s failure to present necessary evidence to the Court that investigators had

constructive possession of.

        As perplexing as the investigator’s failure to use records that were in their

constructive possession is the failure to perform even a perfunctory Google search on the

witness. In their response, the Government has noticeably avoided this is issue by

attempting to recast the materials as a “trial court’s decision containing the adverse

credibility finding, which was sealed and not publicly available,” this description is

completely inaccurate. A full copy of the trial court’s decision is publicly available and on

the first page of Google results, had the investigators simply searched for Person-3’s

name.2

I. Legal Principles of Constructive Possession and Disclosure Obligations

        The principle of constructive possession mandates that the government disclose

all material information favorable to the defense, as established under Brady v.

Maryland, 373 U.S. 83 (1963). This obligation extends to evidence impacting the

credibility of witnesses, as emphasized in Giglio v. United States, 405 U.S. 150 (1972).

The government's duty is not limited to information in the direct possession of the

prosecuting attorney but includes all evidence known to others acting on the

government's behalf, such as law enforcement agencies, as underscored in Kyles v.

Whitley, 514 U.S. 419 (1995).




2 The Government’s failure to conduct such a perfunctory search on their witness was again demonstrated

on January 2, 2025 when counsel for the Government emailed counsel for the Defendant incorrectly
claiming that quotes from this publicly available document violated the protective order. It seems from this
exchange that even at this stage of the litigation, two weeks after the Government filed their opposition to
the motion, they still have not done a basic Google search on Person-3 to see that all of this information is
readily available.


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II. Obligations to Inform the Court in Search Warrant Applications

       When applying for a search warrant, the government must provide complete and

truthful information to enable the magistrate to make an independent determination of

probable cause, as required by Franks v. Delaware, 438 U.S. 154 (1978). If the affidavit

contains false statements or omits material facts made knowingly or with reckless

disregard for the truth, the warrant is invalid. This principle was further elaborated in

United States v. Williams, 827 F.3d 1134 (D.C. Cir. 2016), where the court extended the

Franks standard to include omissions that could impact the probable cause

determination.

III. Government's Failure to Disclose Constructively Possessed Information

       The Government's failure to inform the Court of Person-3's credibility issues,

despite this information being within its constructive possession and easily accessible,

constitutes a material omission. United States v. Scarfo, 41 F.3d 880 (3d Cir. 1994),

highlights that the failure to disclose such evidence can violate due process rights and

necessitate a new trial. The Government cannot claim ignorance when the information

was accessible through simple means, including a Google search, or was already within

the files of the Department of Defense, particularly when the investigation was conducted

by DCIS, the very agency that possessed this adverse information.

IV. Consequences of the Government's Failure

       The failure to disclose material information affects the validity of the search

warrant and the evidence obtained. The exclusionary rule, as established in Weeks v.

United States, 232 U.S. 383 (1914), prevents the use of improperly obtained evidence.

This rule is not negated by the good faith exception of United States v. Leon, 468 U.S. 897

(1984), where the magistrate was misled by false or incomplete information. The


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Government's omissions in the warrant application process necessitate suppression of the

evidence and a Franks hearing to address these issues comprehensively.

          In their Response, the Government attempts to argue that “Even if Person 3’s

statements were completely excised from the challenged warrant affidavits, the affidavit

contains facts sufficient to support a finding of probable cause.” The Government

understandably fails to elaborate on this assertion as Person-3’s testimony is the sole

source of the alleged quid pro quo. Excising Person-3 from the affidavit destroys any

chance that the Court would have found probable cause.

Conclusion

          The Government's failure to disclose critical credibility issues with Person-3 in the

search warrant applications undermines the validity of the warrants. Given the material

omissions and reckless disregard for the truth, this Court should suppress the evidence

obtained pursuant to these warrants and grant a Franks hearing to further explore these

issues.


                                             Respectfully submitted,



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